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                   1   COOLEY LLP
                       Stephen C. Neal (170085) (nealsc@cooley.com)
                   2   John C. Dwyer (136533) (dwyerjc@cooley.com)
                       3175 Hanover Street
                   3   Palo Alto, CA 94304
                       Telephone:    (650) 843-5000
                   4   Facsimile:    (650) 857-0663
                   5   Beatriz Mejia (190948) (mejiab@cooley.com)
                       Matthew M. Brown (264817) (brownmm@cooley.com)
                   6   101 California Street, 5th Floor
                       San Francisco, CA 94111-5800
                   7   Telephone:     (415) 693-2000
                       Facsimile:     (415) 693-2222
                   8
                       Counsel for Defendants
                   9   SONY CORPORATION, SONY ELECTRONICS INC.,
                       and SONY ENERGY DEVICES CORPORATION
                 10

                 11

                 12                                    UNITED STATES DISTRICT COURT

                 13                                NORTHERN DISTRICT OF CALIFORNIA

                 14                                         OAKLAND DIVISION

                 15

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                 17     IN RE: LITHIUM ION BATTERY                      Master File No. 4:13-md-02420-YGR (DMR)
                        ANTITRUST LITIGATION                            MDL No. 2420
                 18

                 19     This document is related to:                    Case No. 2:15-cv-1038
                                                                                 4:15-cv-3443-YGR
                 20     MICROSOFT MOBILE, INC., et al.
                                                                        STIPULATION AND [PROPOSED]
                 21                   Plaintiffs,                       ORDER REGARDING SERVICE OF
                              vs.                                       SUMMONS AND COMPLAINT
                 22
                       LG CHEM AMERICA, INC., et al.
                 23
                                      Defendants.
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  COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
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                        Case 4:13-md-02420-YGR Document 779 Filed 08/12/15 Page 2 of 5



                   1           Plaintiffs Microsoft Mobile Inc. and Microsoft Mobile Oy (collectively, “Microsoft
                   2   Mobile” or the “Microsoft Mobile Plaintiffs”) and defendants LG Chem America, Inc., LG Chem,
                   3   Ltd., Panasonic Corporation, Panasonic Corporation of North America, Samsung SDI America,
                   4   Inc., Samsung SDI Co., Ltd., Sanyo Electric Co. Ltd., Sanyo North America Corporation, Sony
                   5   Corporation, Sony Electronics Inc., and Sony Energy Devices Corporation (collectively,
                   6   “Defendants”), by and through their undersigned counsel, stipulate and agree, as follows:
                   7           1.      The undersigned Defendants, including all domestic Defendants and all foreign
                   8   Defendants, waive service of the summons and the complaint filed by Microsoft Mobile in this
                   9   action on June 26, 2015 (“Microsoft Mobile’s Complaint”) pursuant to Federal Rule of Civil
                 10    Procedure 4(d). All Defendants preserve all other defenses under the Federal Rules of Civil
                 11    Procedure, including potential Rule 12 motions and motions to compel arbitration.
                 12            2.      Within 21 days of the date on which this stipulation is entered as an Order of the
                 13    Court, or alternatively, seven days after the date by which the parties stipulate to and the Court
                 14    enters an appropriate protective order in this action, whichever is later, all Defendants shall
                 15    produce to Microsoft Mobile the documents that Defendants produced to the United States
                 16    Department of Justice (“DOJ”) in response to subpoenas issued by DOJ regarding secondary
                 17    batteries, and that were also produced to class plaintiffs in this consolidated action. Microsoft
                 18    Mobile and Defendants agree to reasonably expedite the entry of an appropriate protective order
                 19    in this action. Defendants do not waive any defenses by producing these documents to Microsoft
                 20    Mobile, including the right to compel arbitration.
                 21            3.      All Defendants shall respond to Microsoft Mobile’s Complaint within ninety (90)
                 22    days from the date on which this stipulation is entered as an Order of the Court.
                 23            4.      All Defendants and the Microsoft Mobile Plaintiffs agree to waive the production
                 24    of initial disclosures in this action.
                 25            IT IS SO STIPULATED.
                 26    ///
                 27    ///
                 28    ///
  COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                       2.
                       Case 4:13-md-02420-YGR Document 779 Filed 08/12/15 Page 3 of 5



                   1   Dated: August 11, 2015   By: /s/ Lance A. Termes
                                                        Lance A. Termes
                   2
                                                Lance A. Termes
                   3                            ALSTON & BIRD LLP
                                                1950 University Avenue, 5th Floor
                   4
                                                East Palo Alto, CA 94303-2282
                   5                            Telephone: 650-838-2000
                                                Facsimile: 650-83 8-2001
                   6                            lance.termes@alston.com

                   7                            James C. Grant (pending pro hac vice admission)
                                                Valarie C. Williams (pending pro hac vice admission)
                   8                            B. Parker Miller (pending pro hac vice admission)
                                                Edward P. Bonapfel (pending pro hac vice admission)
                   9                            ALSTON & BIRD LLP
                                                1201 West Peachtree Street
                 10
                                                Atlanta, Georgia 30309
                 11                             Telephone: 404-881-7000
                                                Facsimile: 404-881-7777
                 12                             jim.grant@alston.com
                                                valarie.williams@alston.com
                 13                             parker.miller@alston.com
                                                ed.bonapfel@alston.com
                 14
                                                Attorneys for Plaintiffs Microsoft Mobile Inc. and Microsoft
                 15                             Mobile Oy

                 16    Dated: August 11, 2015   By: /s/ John Dwyer
                                                        John Dwyer
                 17
                                                COOLEY LLP
                 18                             Stephen C. Neal
                                                John C. Dwyer
                 19                             3175 Hanover Street
                                                Palo Alto, CA 94304
                 20                             Telephone:    (650) 843-5000
                                                Facsimile:    (650) 857-0663
                 21                             nealsc@cooley.com
                                                dwyerjc@cooley.com
                 22
                                                Beatriz Mejia
                 23                             Matthew M. Brown (264817)
                                                101 California Street, 5th Floor
                 24                             San Francisco, CA 94111-5800
                                                Telephone:     (415) 693-2000
                 25                             Facsimile:     (415) 693-2222
                                                mejiab@cooley.com
                 26                             brownmm@cooley.com
                 27                             Attorneys for Defendants Sony Corporation, Sony
                                                Electronics Inc., and Sony Energy Devices Corporation
                 28
  COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                             3.
                       Case 4:13-md-02420-YGR Document 779 Filed 08/12/15 Page 4 of 5



                   1   Dated: August 11, 2015   By: /s/ Michael W. Scarborough
                                                        Michael W. Scarborough
                   2
                                                Michael W. Scarborough
                   3                            Dylan Ian Ballard
                                                James Landon McGinnis
                   4                            Tyler Mark Cunningham
                                                SHEPPARD, MULLIN, RICHTER & HAMPTON
                   5                            Four Embarcadero Center, 17th Floor
                                                San Francisco, CA 94111-4106
                   6                            Tel: (415) 434-9100
                                                Fax: (415) 434-3947
                   7                            mscarborough@smrh.com
                                                dballard@sheppardmullin.com
                   8                            jmcginnis@sheppardmullin.com
                                                tcunningham@sheppardmullin.com
                   9
                                                Attorneys for Defendants Samsung SDI America, Inc. and
                 10                             Samsung SDI Co., Ltd.
                 11

                 12    Dated: August 11, 2015   By: /s/ Jeffrey L. Kessler
                                                        Jeffrey L. Kessler
                 13
                                                Jeffrey L. Kessler (pro hac vice)
                 14                             A. Paul Victor (pro hac vice)
                                                Eva W. Cole (pro hac vice)
                 15                             Jeffrey J. Amato (pro hac vice)
                 16                             Erica C. Smilevski (pro hac vice)
                                                WINSTON & STRAWN LLP
                 17                             200 Park Avenue
                                                New York, NY 10166-4193
                 18                             Telephone: (212) 294-4601
                                                Facsimile: (212) 294-4700
                 19                             jkessler@winston.com
                 20                             pvictor@winston.com
                                                ewcole@winston.com
                 21                             jamato@winston.com
                                                esmilevski@winston.com
                 22
                                                Ian L. Papendick (SBN 275648)
                 23                             WINSTON & STRAWN LLP
                 24                             101 California Street
                                                San Francisco, CA 94111
                 25                             Telephone: (415) 591-6904
                                                Facsimile: (415) 591-1400
                 26                             ipapendick@winston.com
                 27

                 28
  COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                             4.
                        Case 4:13-md-02420-YGR Document 779 Filed 08/12/15 Page 5 of 5



                   1                                     Roxann E. Henry (pro hac vice)
                                                         MORRISON & FOERSTER LLP
                   2                                     2000 Pennsylvania Avenue, NW
                   3                                     Suite 6000
                                                         Washington, DC 20006
                   4                                     Telephone: (202) 887-1500
                                                         Facsimile: (202) 887-0763
                   5                                     rhenry@mofo.com
                   6                                     Counsel for Panasonic Corporation, Panasonic Corporation
                                                         of North America, Sanyo Electric Co., Ltd., and Sanyo North
                   7                                     America Corporation
                   8   Dated: August 11, 2015            By: /s/ Reginald Steer
                                                                 Reginald Steer
                   9
                                                         Reginald Steer
                 10                                      AKIN GUMP STRAUSS HAUER & FELD
                                                         580 California Street, Suite 1500
                 11                                      San Francisco, CA 94104-1036
                                                         rsteer@akingump.com
                 12
                                                         Counsel for LG Chem America, Inc. and LG
                 13                                      Chem, Ltd.
                 14

                 15

                 16                                            ATTESTATION

                 17            Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that the concurrence in

                 18    the filing of this document has been obtained from each of the other signatories thereto.

                 19    Dated: August 11, 2015                               By: /s/ John Dwyer
                                                                                    John Dwyer
                 20

                 21

                 22                                                 ORDER

                 23            This Order terminates Docket Number 776.

                 24            IT IS SO ORDERED.

                 25    Dated: August 12, 2015                       __________________________________________
                                                                    The Honorable Yvonne Gonzalez Rogers
                 26                                                 United States District Judge
                 27
                       119529960
                 28
  COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                       5.
